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                     10    TERMINALS PACIFIC LLC; CERES
                           MARINE TERMINALS, INC.; SSA
                     11    TERMINALS, LLC; SSA MARNIE, INC.;
                           and TRANSPAC TERMINAL SERVICES,
                     12    LLC
                     13
                                                  UNITED STATES DISTRICT COURT
                     14
                                                 CENTRAL DISTRICT OF CALIFORNIA
                     15
                                                              WESTERN DIVISION
                     16

                     17    EVAGELOS ANDRIKOS, BRYANT                    Case No. 2:19-cv-10421
                           BURNS, MICHAEL OLVERA, PAUL
                     18    RUIZ, JERRY VRBANOVIC, on
                           behalf of themselves and other similarly     DECLARATION OF PARIN
                     19    situated non-exempt former and current       JHAVERI IN SUPPORT OF
                           employees,                                   DEFENDANTS’ NOTICE OF
                     20                                                 REMOVAL PURSUANT TO THE
                                                Plaintiffs,             CLASS ACTION FAIRNESS ACT
                     21                                                 (“CAFA”)
                                          vs.
                     22                                                 [28 U.S.C. § § 1332, 1441, 1446,
                           PACIFIC MARITIME                             1453]
                     23    ASSOCIATION, PACIFIC
                           MARITIME ASSOCIATION, INC.,
                     24    APM TERMINALS PACIFIC LLC,
                           APS STEVEDORING, LLC, BENICIA
                     25    PORT TERMINAL COMPANY,
                           CERES TERMINALS
                     26    INCORPORATED, CRESCENT CITY
                           MARINE WAYS & DRYDOCK
                     27    COMPANY, INC., EAGLE MARINE
                           SERVICES, LTD., EVERPORT
M ORGAN , L EWIS &
                     28    TERMINAL SERVICES, INC.,
  B OCKI US LLP
 ATTO RNEY S AT LAW
                                                                                   DECLARATION OF PARIN JHAVERI
    LOS A NG EL ES                                                                       CASE NO. 2:19-cv-10421

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                      1    HARBOR INDUSTRIAL SERVICES
                           CORPORATION, INNOVATIVE
                      2    TERMINAL SERVICES INC.,
                           INTERNATIONAL
                      3    TRANSPORTATION SERVICE, INC.,
                           KINDER MORGAN BULK
                      4    TERMINALS LLC, LBCT, LLC,
                           MARINE TERMINALS
                      5    CORPORATION, MARINE
                           TERMINALS CORPORATION OF
                      6    LOS ANGELES, MATSON
                           NAVIGATION COMPANY, INC.,
                      7    MATSON TERMINALS, INC.,
                           METROPOLITAN STEVEDORE
                      8    COMPANY, OCEAN TERMINAL
                           SERVICES, INC., PACIFIC CRANE
                      9    MAINTENANCE COMPANY LP,
                           PACIFIC RO-RO STEVEDORING,
                     10    LLC, PASHA STEVEDORING &
                           TERMINALS LP, PORT
                     11    MAINTENANCE GROUP, SSA
                           MARINE, INC., SSA TERMINALS,
                     12    LLC, TERMINAL EQUIPMENT
                           SERVICES, INC., TOTAL
                     13    TERMINALS INTERNATIONAL,
                           LLC, TRANSPAC TERMINAL
                     14    SERVICES, LLC, TRAPAC, LLC,
                           YUSEN TERMINALS, INC. and
                     15    DOES 1 through 100, inclusive,
                     16                   Defendants.
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  B OCKI US LLP
 ATTO RNEY S AT LAW                                                     DECLARATION OF PARIN JHAVERI
   SAN FRA NCI SCO
                                                                                CASE NO. 2:19-cv-10421
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                      1                            DECLARATION OF PARIN JHAVERI
                      2             I, Parin Jhaveri, declare as follows:
                      3             1.      I hold the position of Coast Director, IT and Longshore Payroll for
                      4    Defendant Pacific Maritime Association (“PMA”), and I have been employed by
                      5    PMA for around twenty years. In my current role, I oversee IT and longshore
                      6    payroll operations for PMA. The facts set forth in this declaration are based on my
                      7    personal knowledge and on records that PMA maintains in the ordinary course of
                      8    business. I could testify competently to these facts if called as a witness.
                      9             2.      PMA is a multi-employer collective bargaining association whose
                     10    members include stevedoring companies, terminal operators, and maintenance and
                     11    repair contractors that employ longshore workers, marine clerks, and other
                     12    categories of dockworkers to load and unload cargo from seagoing vessels at
                     13    waterfront facilities located at ports in California, Oregon, and Washington.
                     14             3.      PMA’s primary purpose is to negotiate, enter into, and administer on
                     15    behalf of its members collective-bargaining agreements with the International
                     16    Longshore and Warehouse Union (“ILWU”), which represent the West Coast
                     17    dockworkers coastwide, and certain of its Longshore Division Local Unions, which
                     18    represent workers locally. These workers are engaged in a kind of employment that
                     19    normally involves working for several employers in the same industry
                     20    interchangeably. This means that most workers have no steady employer and
                     21    instead perform similar jobs within a group of employers. Jobs are typically for a
                     22    very short duration. Many are for only one shift. As a result, each worker might
                     23    have almost the same job but for several different employers each workweek.
                     24             4.      The ILWU and PMA are parties to coastwide, multi-employer, multi-
                     25    port collective bargaining agreements. Under those agreements, there are two types
                     26    of classifications for longshore workers: casual and registered. Qualified casual
                     27    and registered longshore workers may be assigned marine clerk jobs.
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  B OCKI US LLP
 ATTO RNEY S AT LAW
                                                                                        DECLARATION OF PARIN JHAVERI
   SAN FRA NCI SCO                                                          1                    CASE NO. 2:19-cv-10421
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                      1            5.     Integral to its role as a management-side collective bargaining
                      2    representative in connection with collective bargaining units of interchangeable
                      3    workers, PMA also serves as a centralized payroll agent: it collects time card
                      4    information and funds from employers and issues the pay and wage statements to
                      5    the dockworkers employed by PMA member companies.
                      6            6.     PMA’s longshore payroll operations generally entail receiving time
                      7    card information from PMA’s member companies, processing the information,
                      8    calculating wages and payroll taxes, collecting from the employers the funds for the
                      9    wages and employer share of payroll taxes, and then printing and distributing wage
                     10    statements and checks or direct deposit payments to the dockworkers.
                     11            7.     Paydays for dockworkers are every Friday. According to PMA
                     12    longshore payroll records, for the time period August 24, 2018 to December 6,
                     13    2019, at least 1,183 ILWU Local 10 registered longshore workers received 41 or
                     14    more wage statements.
                     15            I declare under penalty of perjury under the laws of the State of California
                     16    and the United States that the foregoing is true and correct.
                     17            Executed this 9th day of December, 2019 in California.
                     18
                                                                                 /s/ Parin Jhaveri
                     19                                                           Parin Jhaveri
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   SAN FRA NCI SCO
                                                                                       DECLARATION OF PARIN JHAVERI
                                                                                               CASE NO. 2:19-cv-10421
                          DB2/ 37939244
